  Case 5:01-cv-00085-SPM-AK Document 185 Filed 05/16/05 Page 1 of 3




                                                                        Page 1 of 3


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         PANAMA CITY DIVISION

UNITED STATES OF AMERICA,
et al.,

             Plaintiffs,

vs.                                            CASE NO. 5:01-CV-085-SPM

NICON, INC., et al.,

           Defendants.
__________________________________/

AMERICAN SAFETY CASUALTY INS. CO.,

             Third-Party Plaintiff,

vs.

NICON ABATEMENT, INC., et al.,

           Third-Party Defendants.
__________________________________/


       ORDER ON DEFENDANT RUSSELL ALONZO’S BANKRUPTCY

      THIS CAUSE comes before the Court upon the “Periodic Status Report”

(doc. 183) filed May 2, 2005, in which defendant Russell Alonzo’s counsel

advises that on April 20, 2005, Alonzo received a discharge in bankruptcy case

8:03-BK-07212-PMG in the United States Bankruptcy Court for the Middle
   Case 5:01-cv-00085-SPM-AK Document 185 Filed 05/16/05 Page 2 of 3




                                                                              Page 2 of 3


District of Florida (Alonzo filed his suggestion of bankruptcy on November 5,

2004; see doc. 171). A discharge order under the Bankruptcy Code “does not

extinguish the debt itself, but merely releases the debtor from personal liability for

the debt.” Hall v. Nat’l Gypsum Co., 105 F.3d 225, 229 (5th Cir. 1997).

       Pursuant to the applicable provisions of the Bankruptcy Code, it is

       ORDERED AND ADJUDGED as follows:

       1.     The discharge in bankruptcy case 8:03-BK-07212-PMG in the

              United States Bankruptcy Court for the Middle District of Florida is

              acknowledged.

       2.     Defendant Russell Alonzo is released from all personal liability in

              the instant case.

       3.     Creditor parties are enjoined from proceeding against Alonzo or

              attempting in any manner to collect debt owed them by Alonzo

              related to this case.

       DONE AND ORDERED this sixteenth day of May, 2005.


                                        s/ Stephan P. Mickle
                                      Stephan P. Mickle
                                      United States District Judge

/pao
Case 5:01-cv-00085-SPM-AK Document 185 Filed 05/16/05 Page 3 of 3




                                                            Page 3 of 3
